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1                               UNITED STATES DISTRICT COURT
2                                      DISTRICT OF NEVADA
3
      DONALD ROTSIN BARREN,                                 Case No. 2:19-cv-00142-APG-VCF
4
                                           Plaintiff,                   ORDER
5            v.
6     JAMES DZURENDA, et al.,
7                                     Defendants.
8

9    1.     DISCUSSION

10          This action began with a pro se civil rights complaint filed pursuant to 42 U.S.C. §

11   1983 by a state prisoner. Plaintiff submitted an application to proceed in forma pauperis

12   for prisoners. (ECF No. 1.) However, Plaintiff has since filed a change of address,

13   indicating that he is no longer incarcerated. (ECF No. 18.) As such, the Court denies

14   Plaintiff’s application to proceed in forma pauperis for prisoners as moot. The Court now

15   directs Plaintiff to file an application to proceed in forma pauperis by a non-prisoner within

16   thirty (30) days from the date of this order or pay the full filing fee of $400.

17          Plaintiff has also filed two motions requesting that the Court issue an order for the

18   United States Marshalls to serve the Defendants. (ECF Nos. 13, 16.) After Plaintiff files

19   an application to proceed in forma pauperis by a non-prisoner or pays the full filing fee of

20   $400, the Court will issue a subsequent order addressing service. As such, the Court

21   denies Plaintiff’s motions without prejudice.

22          Finally, the Defendants filed a motion requesting that the Court amend its order

23   setting an early inmate mediation conference in this case. (ECF No. 19.) The motion

24   indicates that because Plaintiff is no longer incarcerated, the attorney general’s office

25   could not facilitate Plaintiff’s participation in the mediation conference. (Id.) The parties

26   have participated in the mediation conference, and the Court denies the motion as moot.

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1    II.    CONCLUSION

2           For the foregoing reasons, IT IS ORDERED the Clerk of the Court WILL SEND

3    Plaintiff the approved form application to proceed in forma pauperis by a non-prisoner, as

4    well as the document entitled information and instructions for filing an in forma pauperis

5    application.

6           IT IS FURTHER ORDERED that within thirty (30) days from the date of this order,

7    Plaintiff will either: (1) file a fully complete application to proceed in forma pauperis for

8    non-prisoners; or (2) pay the full filing fee of $400.

9           IT IS FURTHER ORDERED that, if Plaintiff fails to timely comply with this order,

10   the Court will dismiss this case without prejudice.

11          IT IS FURTHER ORDERED that, Plaintiff’s motions for service by the United

12   States Marshalls (ECF Nos. 13, 16) are DENIED without prejudice. The Court will issue

13   an order addressing service after Plaintiff files a fully complete application to proceed in

14   forma pauperis for non-prisoners or pays the full filing fee of $400.

15          IT IS FURTHER ORDERED that Defendants motion to amend the Court’s ordering

16   setting the early inmate mediation conference (ECF No. 19.) is DENIED as moot.

17
                       16th
18          DATED THIS ___ day of October 2020.

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20                                               UNITED STATES MAGISTRATE JUDGE
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